         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                     Case No. 5D2023-3638
                 LT Case No. 2021-CF-001096-A
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BONNIE HARTMANN,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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On appeal from the Circuit Court for Hernando County.
Stephen E. Toner, Jr., Judge.

Matthew J. Metz, Public Defender, and Jospeh Chloupek,
Assistant Public Defender, Daytona Beach, for Appellant.

Bonnie Hartman, Ocala, pro se.

Ashley Moody, Attorney General, Tallahassee, and Alyssa M.
Williams, Assistant Attorney General, Daytona Beach, for
Appellee.

                        August 27, 2024


PER CURIAM.

    AFFIRMED.

JAY, EISNAUGLE, and BOATWRIGHT, JJ., concur.
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Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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